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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-0681V



 JACQUELINE SCHWEICHLER,                                    Chief Special Master Corcoran

                        Petitioner,                         Filed: February 21, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      Petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
       Respondent.

                                   RULING ON ENTITLEMENT1

       On June 17, 2022, Jacqueline Schweichler filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). She filed an amended petition on February 6, 2023. ECF No. 15. Petitioner
alleges that she suffered a left shoulder injury related to vaccine administration (“SIRVA”),
a defined Table injury, or in the alternative a causation-in-fact injury, after receiving an
influenza vaccine on October 13, 2021. Amended Petition at 1, ¶¶ 1, 8. Petitioner further
alleges she received the vaccine within the United States, that she continues to suffer the
residual effects of her injury more than six months, and that neither she nor any other

1 Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.   Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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party has filed a civil action or received compensation for her injury. Id. at ¶¶ 1, 7, 9. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

       On February 20, 2024, Respondent filed his Rule 4(c) Report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent “has concluded that [P]etitioner’s alleged injury is consistent
with SIRVA as defined by the Vaccine Injury Table.” Id. at 4 Respondent further states
that “based on the records as it now stands, [P]etitioner has satisfied all legal prerequisites
for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master




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